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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                            Chapter 11

 AGSPRING MISSISSIPPI REGION, LLC, et              Case No. 21-11238 (CTG)
 al.,
                                                   (Jointly Administered)
                         Debtors.

 Larry Tubbs, Tubbs Rice Dryers, Inc., Chief
 Ventures, L.L.C. and Big River Grain, LLC,

                 Appellants,                       Civil Action No. 1:22-cv-00338-RGA

 v.

 Agspring Mississippi Region, LLC, et al.,

                 Appellees.


                     STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to the Order Granting Debtors’ Motion for Approval of Global Settlement and

Resolution by and Between the Agspring Parties and the Tubbs Parties Pursuant to Bankruptcy

Rule 9019 and Bankruptcy Code Sections 363 and 105(a) entered on May 10, 2022 in the

bankruptcy case pending before The Honorable Craig T. Goldblatt in the Bankruptcy Court for the

District of Delaware captioned In re Agspring Mississippi Region, LLC, et al., Bankr. D. Del.

Case No. 21-11238 (CTG) [D.I. 385], it is hereby stipulated and agreed, that this action be

dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each

party to bear its own fees and costs.




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Dated: May 16, 2022

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and HVS V LLC



                                     SO ORDERED this 16th day of May, 2022

                                     /s/ Richard G. Andrews
                                     United States District Judge




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